                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


JOHN JOHNSON                                 )
                                             )
v.                                           ) NO. 3-12-0941
                                             ) JUDGE CAMPBELL
MUTUAL OF OMAHA INS. CO.                     )



                                            ORDER


       Plaintiff has filed a Notice of Dismissal without Prejudice (Docket No. 42). Plaintiff seeks

to voluntarily dismiss Defendant Nationwide Express, Inc. Nationwide Express, Inc. is no longer

a Defendant in this case, having been terminated when Plaintiff filed his Second Amended

Complaint (Docket No.32), which named only one Defendant, Mutual of Omaha Insurance

Company.

       Accordingly, the Notice of Dismissal (Docket No. 42) is moot.

       IT IS SO ORDERED.


                                                     ___________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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